






Opinion issued March 8, 2007













In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00671 -CV

_______________


ARACELI GARZA A/K/A ARACELI RODRIGUEZ,  Appellant


V.


HIBERNIA NATIONAL BANK,  Appellee


                                                                                                                                      


On Appeal from County Civil Court at Law No. 3

Harris County, Texas

Trial Court Cause No. 841,580

                                                                                                                                      


O P I N I O N


	Appellee has filed a motion to dismiss this appeal for lack of jurisdiction.  On
March 24, 2006, the trial court signed the final judgment.  Appellant filed a timely
motion for new trial, which was overruled by operation of law on June 7, 2006.  The
trial court held a hearing and denied the motion on June 26, 2006. (1)  Appellant filed
his notice of appeal on July 20, 2006, 118 days after the judgment was signed.  

	If a party files a motion for new trial, a notice of appeal must be filed within
90 days after the judgment is signed.  Tex. R. App. P. 26.1.  The timely filing of a
notice of appeal invokes the jurisdiction of the court of appeals.  Tex. R. App. P. 25.1. 
Therefore, if the notice of appeal is not timely filed, the court of appeals is without
jurisdiction to consider the appeal.  A court of appeals may extend the time to file a
notice of appeal if, within 15 days after the deadline for filing the notice, the party (1)
files in the trial court the notice of appeal and (2) files in the court of appeals a
motion complying with rule 10.5(b) to extend the time to file the motion.  Tex. R.
App. P. 26.3, 10.5(b). (2)  

	Appellant's deadline for filing his notice of appeal was June 22, 2006.  His
deadline for filing a motion to extend the time to file a notice of appeal was July 7,
2006.  Appellant's notice of appeal was filed 28 days late.  In his November 8, 2006
response to appellee's motion to dismiss, appellant requested an extension of time for
filing his notice of appeal.  However, this request was filed approximately four
months after the July 7 deadline for such a request.  Therefore, we may not grant an
extension of time to file the notice of appeal.  

	Because appellant's notice of appeal and his request for an extension of time
were not timely filed, we have no jurisdiction to consider this appeal.  Therefore, we
grant appellee's motion.  Accordingly, the appeal is dismissed for lack of jurisdiction. 
All other pending motions are overruled as moot.  



							Sam Nuchia

							Justice


Panel consists of Justices Nuchia, Keyes, and Higley.



1. 	At the time of the hearing, the trial court still had plenary jurisdiction, which
expired on July 7, 2006, and could have granted a new trial.  Tex. R. Civ. P. 329b(e). 
However, the trial court's denial of the motion did not extend the time for filing a notice of
appeal beyond the 90-day deadline.  See Tex. R. App. P. 26.1.    
2. 	This rule has been modified by Verburgt v. Dorner, 959 S.W.2d 615 (Tex.
1997).  In Verburgt, the supreme court held that an appeal bond filed within the 15-day grace
period implied a motion to extend the time to file the bond.  Id. at 617.  This Court has
applied Verburgt to notices of appeal.  See, e.g., McClusky v. State, 64 S.W.3d 621, 623
(Tex. App.--Houston [1st Dist.] 2001, no pet.).  Because appellant's notice of appeal was
filed more than 15 days after the date on which it was due, the Verburgt rule does not apply
to this case.  

